                   Case 1:00-cr-05102-OWW Document 257 Filed 07/05/07 Page 1 of 2
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                      v.                                                  (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
               JANET RONSPEIZ
                      (Defendant’s Name)                                  Criminal Number: 1:00-CR-05102-002


                                                                          Richard Beshwate
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) 1 as alleged in the violation petition filed on 04/10/2007 .
[]  was found in violation of condition(s) of supervision as to charge(s)      after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
One                                  Failure to Reside and Participate in the                03/31/2007
                                     Com prehensive Sanction Center




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on June 25, 2007 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                             June 25, 2007
                                                                                    Date of Im position of Sentence


                                                                                         /s/ Oliver W . W anger
                                                                                      Signature of Judicial Officer


                                                                         OLIVER W . W ANGER, United States District Judge
                                                                                 Nam e & Title of Judicial Officer


                                                                                                 June 27, 2007
                                                                                                     Date
                   Case 1:00-cr-05102-OWW Document 257 Filed 07/05/07 Page 2 of 2
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               1:00-CR-05102-002                                                              Judgment - Page 2 of 2
DEFENDANT:                 JANET RONSPEIZ



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 7 m onths .

As to charge 1.

The defendant will continue to pay unpaid m onetary sanctions im posed.

[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated in a California facility, but only insofar as this accords
         with security classification and space availability. The court recom m ends a facility at Dublin CA.


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
